                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                 GREENEVILLE DIVISION

  UNITED STATES OF AMERICA                             )
                                                       )
         v.                                            )             2:19-CR-96
                                                       )             JUDGE GREER
  HAILEY LEANN HALE                                    )
    aka “BABY MAMA”                                    )


                        MOTION TO WITHDRAW FILED DOCUMENTS

         COMES NOW the United States of America, by and through the United States Attorney

  for the Eastern District of Tennessee, and moves the Court to withdraw the Plea Agreement

  (Doc. 309) and the sealed Plea Agreement Supplement (Doc. 310) as to defendant, Hailey Leann

  Hale, which were filed on June 3, 2020. Document 309 contains a typographical error which

  does not represent the intended agreement of the parties. Document 310, as supplement, must

  also be considered in error and withdrawn.

         Respectfully submitted, this the 3rd day of June, 2020.

                                                       Respectfully submitted,

                                                       J. DOUGLAS OVERBEY
                                                       United States Attorney

                                               By:     s/Thomas A. McCauley
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